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    7
    8                              UNITED STATES DISTRICT COURT
    9                                FOR THE CENTRAL DISTRICT
                                           OF CALIFORNIA
   10
   11   ------------------------------------------------------X   CIVIL ACTION NO.
        BRAVADO INTERNATIONAL GROUP                               2:17-cv-03317-BRO-FFM
   12
        MERCHANDISING SERVICES, INC., and
   13   ZION ROOTSWEAR, LLC,                                      THIRD AMENDED
                                                                  COMPLAINT FOR
   14
                                                                  TRADEMARK AND
   15                                                             RIGHT OF PUBLICITY
   16                                 Plaintiffs,                 INFRINGEMENT AND
                                                                  UNFAIR COMPETITION
   17   ASAD MILBES a/k/a SID MILBES, SAVVY
   18   SALES, INC., HOUZZ PARTY, ELBERT
        IRVING IV, BRANDON COLON, VINTAGE
   19
        WEAR LA, STACY SALES, INC.
   20   METROPOLIS BIG AND TALL,
        RAHIM MOHAMED, MEN’S LAND, INC.
   21
        d/b/a METRO FUSION, RNW GARMENTS,
   22   RAPHIAEL NATE WALTON, LA HEISMAN,
   23   LLC, SHAUN FLORES a/k/a RICKY FLORES,
        MILK EMBROIDERY, LLC, GORDON
   24   GARTRALE GARMENTS, CLASSIC FEELGOOD
   25   THREADS a/k/a ORIGINAL FEELGOOD
        THREADS, SUHEEL SHEIKH and DERRICK CLERK,
   26
   27                                  Defendants.
        ------------------------------------------------------X
   28
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    1                              JURISDICTION AND VENUE
    2
              1.    Plaintiff       BRAVADO             INTERNATIONAL             GROUP
    3
        MERCHANDISING SERVICES, INC. (“Bravado”) is a corporation duly
    4
        organized under the laws of the State of California with a place of business in Los
    5
        Angeles, California. Plaintiff ZION ROOTSWEAR, LLC (“Zion”) is a limited
    6
        liability corporation duly organized under the laws of the State of Florida with a
    7
    8
        place of business in Los Angeles, California.

    9
   10         2.    Upon information and belief, at all relevant times herein, Defendants
   11   ASAD MILBES a/k/a SID MILBES (“Milbes”), SAVVY SALES, INC.
   12   (“Savvy”), HOUZZ PARTY (“Houzz”), ELBERT IRVING IV (“Irving”),
   13   BRANDON COLON (“Colon”), VINTAGE                 WEAR LA (“Vintage Wear”),
   14   STACY SALES, INC. (“Stacy Sales”) METROPOLIS BIG AND TALL
   15   (“Metropolis”), RAHIM MOHAMED (“Mohamed”), MEN’S LAND, INC. d/b/a
   16   METRO FUSION (“Metro Fusion”), RNW GARMENTS (“RNW”), RAPHIAEL
   17   NATE WALTON (“Walton”), LA HEISMAN, LLC (“Heisman”), SHAUN
   18   FLORES a/k/a RICKY FLORES (“Flores”), MILK EMBROIDERY, LLC
   19
        (“Milk”), GORDON GARTRALE GARMENTS (“Gartrale”), CLASSIC
   20
        FEELGOOD       THREADS       a/k/a      ORIGINAL      FEELGOOD        THREADS
   21
        (“Feelgood Threads”), SUHEEL SHEIKH (“Sheikh”) and DERRICK CLERK
   22
        (“Clerk”) have transacted business in and/or have committed their infringing
   23
        activities alleged below in the Central District of California, including selling
   24
        infringing goods in and/or transporting infringing goods and/or causing or
   25
        directing the transport of goods into the Central District of California, and/or
   26
        knowing that said activities would affect Bravado, a California corporation,
   27
        and/or would have an effect in the Central District of California.          Upon
   28
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    1   information and belief, Defendants Milbes, Mohamed, Walton, Clerk, Irving,
    2   Flores, Sheikh and Colon authorized and/or directed and/or participated in the
    3   infringement alleged herein.
    4
    5
              3.        This action arises under the Lanham Trademark Act (15 U.S.C. 1051
    6
        et seq). This Court has jurisdiction over this action under 28 U.S.C. 1331, 28
    7
        U.S.C. 1338(a) and 15 U.S.C. 1125(a). This Court also has supplemental
    8
        jurisdiction over the Second, Third, Fourth, Sixth, Seventh, Eighth, Ninth and
    9
        Tenth Causes of Action because they arise out of a common nucleus of operative
   10
        facts as the First Cause of Action.
   11
   12
                                                PARTIES
   13
   14
   15
              4.        The Rolling Stones, Prince, The Doors, The Weeknd, Black

   16   Sabbath, Skipknot, Kanye West, Tupac Shakur, Eminem, Nicki Minaj, Guns N’

   17   Roses, Ozzy Osbourne, Run DMC, Lil Wayne, Naughty By Nature, Justin
   18   Bieber, Rick James, Sade, Queen, N.E.R.D and Bob Marley (the “Musical
   19   Performers”) are world famous performers who have used their respective names,
   20   trademarks and likenesses to identify themselves in all phases of the
   21   entertainment industry to distinguish themselves from other professional
   22   entertainers.
   23
   24         5.        Bravado has been, at all times relevant herein, engaged in the
   25   business of marketing and selling merchandise bearing the names, trade names,
   26
        trademarks, logos and/or likenesses of the Musical Performers throughout the
   27
        United States pursuant to agreements between Bravado and the Musical
   28
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    1   Performers, except Bob Marley, that grant to Bravado the exclusive right to sell
    2   products bearing said parties’ names, trademarks and likenesses and/or the right
    3   to commence lawsuits regarding infringement of their rights. Zion has been, at
    4   all times relevant herein, engaged in the business of marketing and selling
    5
        merchandise bearing the name, trade name, trademark, logo and/or likeness of
    6
        Bob Marley throughout the United States and has been granted the exclusive
    7
        right to sell products bearing the Bob Marley name, trademark and likeness
    8
        and/or the right to commence lawsuits regarding infringement of the Bob Marley
    9
        rights.
   10
   11
                  6.    Defendants are or were distributing, advertising and selling
   12
        unauthorized products and/or products that were modified without Plaintiffs’
   13
        consent embodying the names, trademarks and/or likenesses of the Musical
   14
   15
        Performers (collectively the “Infringing Merchandise”) and/or using the names,

   16   trademarks and/or likenesses to sell and/or distribute products throughout the

   17   United States by various means of interstate transport and delivery in violation of
   18   the rights of Plaintiffs and the Musical Performers under the Lanham Act as
   19   follows:
   20
   21                   A.    Defendants     Vintage       Wear,   Stacy   Sales   and   Milbes
   22             manufactured, distributed and sold improperly modified (bleached) products
   23             including shirts, hoodies and jackets without Plaintiffs’ consent bearing the
   24             names and trademarks of The Rolling Stones (including the Rolling Stones
   25             name and tongue logo), Queen, Black Sabbath, Slipknot, Kanye West,
   26             Tupac Shakur, Eminem, Guns N’ Roses, Ozzy Osbourne, N.E.R.D, Run
   27             DMC and Lil Wayne. Defendants Vintage Wear, Stacy Sales and Milbes
   28
                  distributed and sold unauthorized hoodies and jackets bearing the N.E.R.D
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    1        trademark. Defendants Vintage Wear, Stacy Sales and Milbes manufactured,
    2        distributed and sold improperly modified (bleached) products including
    3        shirts, hoodies and jackets bearing the Tupac Shakur, Lil Wayne, Ozzy
    4        Osbourne and Eminem names and likenesses and the likenesses of the
    5
             individual members of Run DMC. Milbes has authorized, directed and
    6
             participated in Vintage Wear’s and Stacy Sales’ infringement alleged herein.
    7
             Vintage Wear sold Infringing Merchandise from its website to retail
    8
             customers and to other retailers including Defendants Houzz, Metro and
    9
             Metropolis.
   10
   11
                   B.      Defendants Savvy, Colon, Milbes and Irving manufactured,
   12
             distributed and sold socks, headwear, air fresheners and other products
   13
             bearing the names, trademarks and/or likenesses of The Weeknd, Kanye
   14
             West, Tupac Shakur, Nicki Minaj, Justin Bieber, Prince, Lil Wayne and Bob
   15
   16
             Marley. Colon has authorized and/or directed and/or participated in Savvy’s

   17        infringement alleged herein from at least as early as August 1, 2014 to the

   18        present.   Milbes has authorized and/or directed and/or participated in
   19        Savvy’s infringement alleged herein from at least as early as August 1, 2014
   20        until at least as late as April 15, 2016. Irving has authorized and/or directed
   21        and/or participated in Savvy’s infringement alleged herein from at least as
   22        early as January 27, 2016 to the present. Savvy has sold products to Metro,
   23        Metropolis and Houzz.
   24
   25              C.      Defendants Irving and Houzz manufactured, distributed and/or
   26        sold shirts, socks, headwear, air fresheners and other products bearing the
   27        names, trademarks and/or likenesses of The Weeknd, Kanye West, Sade,
   28        Tupac Shakur, Nicki Minaj, Justin Bieber, the Rolling Stones, The Doors,
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    1        Eminem, Rick James, Lil Wayne, Prince and Bob Marley. Irving has been
    2        the owner of both Savvy and Houzz and has authorized and/or directed
    3        and/or participated in Houzz’s infringement alleged herein. Houzz has
    4        purchased products from Gartrale, Heisman, Savvy and Vintage Wear.
    5
    6
                   D.      Defendants Gartrale and Clerk manufactured, distributed and
    7
             sold shirts and other products bearing the names, trademarks and/or
    8
             likenesses of Run DMC, Lil Wayne, Tupac Shakur, Kanye West, Rick
    9
             James and Naughty by Nature. Clerk has authorized and/or directed and/or
   10
             participated in Gartrale’s infringement alleged herein. Gartrale has sold
   11
             products to Metro Fusion and Houzz Party.
   12
   13
                   E.      Defendants RNW and Walton manufactured, distributed and
   14
   15
             sold shirts and other products bearing the name, trademark and/or likeness of

   16        Prince. Walton has authorized and/or directed and/or participated in RNW’s

   17        infringement alleged herein. RNW has sold products to Metro Fusion.
   18
   19              F.      Defendants Feelgood Threads and Sheikh manufactured,
   20        distributed and sold socks, headwear and other products bearing the names,
   21        trademarks and/or likenesses of Run DMC, Lil Wayne, Tupac Shakur,
   22        Kanye West, Rick James and Naughty by Nature. Sheikh has authorized
   23        and/or directed and/or participated in Feelgood Threads’ infringement
   24        alleged herein.   Feelgood Threads has sold products to Metro Fusion and
   25        Metropolis.
   26
   27
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    1              G.    Defendant Metro has distributed and sold shirts, caps, socks and
    2        other products bearing the names, trademarks and/or likenesses of. The
    3        Rolling Stones, Black Sabbath, Prince, Guns N’ Roses. Run DMC, Lil
    4        Wayne, Naughty by Nature, Tupac Shakur, Bob Marley, Rick James and
    5
             Nicki Minaj. Metro has purchased products from Savvy, Vintage Wear,
    6
             RNW, Gartrale and Feelgood Threads.
    7
    8
                   H.    Defendants Metropolis and Mohamed have distributed and sold
    9
             shirts, caps, socks and other products embodying the names, trademarks
   10
             and/or likenesses of. The Rolling Stones, Black Sabbath, Guns N’ Roses.
   11
             Run DMC, Bob Marley, Nicki Minaj and Tupac Shakur. Mohamed has
   12
             authorized and/or directed and/or participated in Metropolis’ infringement
   13
             alleged herein. Metropolis has purchased products from Savvy, Vintage
   14
   15
             Wear and Feelgood Threads.

   16
   17               I.   Defendants Heisman, Milk and Flores have manufactured,
   18        distributed and sold headwear, stickers, patches, pins and other products
   19        bearing the names, trademarks and/or likenesses of Prince, The Rolling
   20        Stones, Sade, The Weeknd, Kanye West, Tupac Shakur, Nicki Minaj, Justin
   21        Bieber and Bob Marley.       Flores has authorized and/or directed and/or
   22        participated in Heisman’s and Milk’s infringement alleged herein since its
   23        inception. Milk has manufactured products that were sold by Heisman,
   24        Houzz and Savvy. Heisman has sold products to Houzz.
   25
   26
   27
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    1                                     BACKGROUND
    2
    3          7.    Each of the Musical Performers has achieved nationwide fame and
    4   notoriety.
    5
    6
               8.    Since the dates set forth below, the Musical Performers have
    7
        identified themselves with each party’s respective name and trademark as set
    8
        forth below. Separately, and/or in conjunction with the likenesses of the Musical
    9
        Performers, the Musical Performers’ trademarks and/or likenesses have been
   10
        used to distinguish merchandise pertaining to the Musical Performers from other
   11
        parties.
   12
   13
   14                                         Trademark Used By
   15
                                              Musical Performer
                                              As Early As
   16                Trademark                Following Date
   17                The Doors                1967
   18                Prince                   1979
                     Black Sabbath            1969
   19
                     Lil Wayne                2004
   20                Guns N’ Roses            1984
                     Ozzy Osbourne            1980
   21
                     Slipknot                 1996
   22                Bob Marley               1976
   23                Tupac Shakur             1996
                     Nicki Minaj              2010
   24                Kanye West               2002
   25                The Weeknd               2011
                     The Rolling Stones       1962
   26
                     Run DMC                  1983
   27                Eminem                   1996
                     The Rolling Stones
   28
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    1                  Tongue Logo             1972
    2                Prince Symbol mark        1992
                     The Weeknd XO mark        2011
    3                Justin Bieber             2010
    4                Rick James                1982
                     Naughty By Nature         1990
    5
                     I Feel Like Pablo         2016
    6                Sade                      1984
                     Yeezus                    2013
    7
                     Queen                     1972
    8                Makaveli                  2003
    9                N.E.R.D                   2002
                     The Dropout Bear          2005
   10
   11         9.     Each of the Musical Performers has sold and/or has had licensed
   12   sales of tens of thousands of dollars worth of merchandise bearing each party’s
   13   respective name, trademark and/or likeness. Defendants’ sale of the Infringing
   14   Merchandise is and will be without permission or authority of Plaintiffs or any of
   15   the Musical Performers.
   16
   17         10.    Defendants’ unlawful activity results in irreparable harm and injury
   18   to Plaintiffs and the Musical Performers in that, among other things, it deprives
   19
        Plaintiffs and the Musical Performers of their absolute right to determine the
   20
        manner in which their images are presented to the general public through
   21
        merchandising; deceives the public as to the origin and sponsorship of such
   22
        merchandise; wrongfully trades upon and cashes in on the Musical Performers’
   23
        reputations, commercial value and exclusive rights and it irreparably harms and
   24
        injures the reputations of Plaintiffs and the Musical Performers.
   25
   26
   27
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     1                    AS AND FOR A FIRST CAUSE OF ACTION
     2                  Violation of 15 U. S. C. 1125(a) as to all Defendants

     3
     4         11.    Plaintiffs repeat and reallege paragraphs 1 through 10 of this
     5   Complaint as if fully set forth herein.
     6
     7         12.    This cause arises under 15 U.S.C. 1125(a) relating to trademarks,
     8   trade names and unfair competition and involves false designations in commerce.
     9
    10         13.    The names, trademarks and likenesses of the Musical Performers as
    11   well as other trademarks owned by the Musical Performers including The
    12
         Weeknd’s XO mark, Prince’s symbol mark, Kanye West’s “I Feel Like Pablo”,
    13
         The Dropout Bear and Yeezus marks, the Tupac Shakur Makaveli mark and The
    14
         Rolling Stones tongue logo, (hereinafter collectively referred to as the “Musical
    15
         Performers’ Marks”) have been used as marks to identify the respective Musical
    16
         Performers and have been used in connection with their performing services and
    17
         the sale of various types of merchandise throughout the United States. As a
    18
         result of same, the Musical Performers’ Marks have developed and now have a
    19
         secondary and distinctive trademark meaning to purchasers of merchandise.
    20
    21
               14.    Infringing Merchandise has been advertised, manufactured and/or
    22
    23
         sold by Defendants, containing and/or using the names, trademarks, and/or

    24   likenesses of the Musical Performers and/or confusingly similar marks.        By

    25   misappropriating and using the Musical Performers’ Marks in advertising and/or
    26   on the goods that Defendants have sold, Defendants have misrepresented and
    27   falsely described to the general public the origin and source of the Infringing
    28
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     1   Merchandise so as to create the likelihood of confusion by the ultimate purchaser
     2   as to both the source and sponsorship of the Infringing Merchandise.
     3
     4         15.    Defendants’ advertising, distributing, manufacturing and sale of the
     5   Infringing Merchandise has infringed and will infringe upon and dilute the
     6   trademarks, names and likenesses of the Musical Performers.
     7
     8
               16.    Defendants’ advertising, manufacturing and/or sale of the Infringing
     9
         Merchandise will be damaging to and will dilute the good will generated by each
    10
         of the Musical Performers and the reputations which all of the Musical Performers
    11
         have developed in connection with the sale of legitimate, authorized and high
    12
         quality merchandise.
    13
    14
               17.    Defendants’ unlawful merchandising activities are without permission
    15
         or authority of Plaintiffs or any of the Musical Performers and constitute express
    16
    17
         and implied misrepresentations that the Infringing Merchandise was created,

    18   authorized or approved by Plaintiffs and/or the Musical Performers.

    19
    20         18.    Defendants’ aforesaid acts are willful violations of 15 U.S.C. 1125(a)
    21   in that Defendants used, in connection with goods and services, a false designation
    22   of origin and have caused and will continue to cause said goods (the Infringing
    23   Merchandise) to enter into interstate commerce.
    24
    25         19.    Plaintiffs and the Musical Performers will have no adequate remedy at
    26   law if Defendants’ activities are not enjoined and will suffer irreparable harm and
    27   injury to their images and reputations as a result thereof.
    28
         
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                                                    11
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     1          20.   As a result of Defendants’ activities, Plaintiffs and the Musical
     2   Performers have been damaged in an amount not yet determined or ascertainable.
     3
     4                    AS AND FOR A SECOND CAUSE OF ACTION
     5       Violation of Section 3344 of the California Civil Code as to all Defendants
     6
                21.   Plaintiffs repeat and reallege paragraphs 1 through 10 and 12
     7
         through 20 of this Complaint as if fully set forth herein.
     8
     9
    10          22.   Each Musical Performer is a celebrated musical performer with a

    11   proprietary interest, inter alia, in the use in public of each party’s respective
    12   name and/or likeness.
    13
    14          23.   Upon information and belief, Defendants have sold, manufactured
    15   and/or distributed the Infringing Merchandise bearing the names and/or
    16   likenesses of the Musical Performers and/or have used said names and/or
    17   likenesses in advertising for Defendants’ goods.
    18
    19          24.   Neither Plaintiffs nor any of the Musical Performers or any party
    20   acting on their behalf has given oral or written consent to Defendants for the use
    21
         of said names and/or likenesses in the manner that Defendants have used said
    22
         names and/or likenesses on any items and/or in connection with advertising for
    23
         any goods.
    24
    25
                25.   Defendants have violated California Civil Code Section 3344 by
    26
         knowingly appropriating, using and exploiting the names and/or likenesses of the
    27
         Musical Performers on the Infringing Merchandise that they distribute or in
    28
         
         
                                                   12
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     1   advertising for any goods for their commercial benefit without the consent of
     2   Plaintiffs or the Musical Performers.
     3
     4         26.    As a result of their infringing activities, Defendants have deprived
     5   Plaintiffs and the Musical Performers of the right to control the time, place, terms
     6   and manner by which to publicize said parties’ special talents.
     7
     8
               27.    Plaintiffs and the Musical Performers will have no adequate remedy at
     9
         law if Defendants’ activities are not enjoined and will suffer irreparable harm and
    10
         injury to their images and reputations as a result thereof.
    11
    12
               28.    As a result of Defendants’ activities, Plaintiffs and the Musical
    13
         Performers have been damaged in an amount not yet determined or ascertainable.
    14
    15
    16                   AS AND FOR A THIRD CAUSE OF ACTION
    17
               Violation of Common Law Unfair Competition as to all Defendants

    18
               29.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through 20
    19
         and 22 through 28 of this Complaint as if fully set forth herein.
    20
    21
               30.    The marks used on the Infringing Merchandise are identical to the
    22
         Musical Performers’ Marks and Defendants’ use thereof is likely to, and is
    23
         certainly intended to, cause confusion to purchasers.
    24
    25
    26         31.    Defendants, by misappropriating and using the Musical Performers’
    27   Marks, have utilized unfair means to usurp the good will and distinctive attributes
    28   of the Musical Performers’ Marks.
         
         
                                                    13
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     1         32.    Defendants have misrepresented and falsely described to the general
     2   public the origin and source of the Infringing Merchandise so as to cause
     3   confusion by the ultimate purchaser as to both the source and sponsorship of the
     4   Infringing Merchandise.
     5
     6
               33.    Plaintiffs and the Musical Performers will have no adequate remedy
     7
         at law if Defendants’ activities are not enjoined and will suffer irreparable harm
     8
         and injury to their images and reputations as a result thereof.
     9
    10
               34.    As a result of Defendants’ activities, Plaintiffs and the Musical
    11
         Performers have been damaged in an amount not yet determined or ascertainable.
    12
    13
                        AS AND FOR A FOURTH CAUSE OF ACTION
    14
                Violation of Common Law Right of Publicity as to all Defendants
    15
    16         35.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    17   20, 22 through 28 and 30 through 34 of this Complaint as if fully set forth herein.
    18
    19
               36.    Defendants’ unauthorized use of the Musical Performers’ names
    20
         and/or likenesses constitutes common law right of publicity violations.
    21
    22
               37.    Plaintiffs and the Musical Performers will have no adequate remedy
    23
         at law if Defendants’ activities are not enjoined and will suffer irreparable harm
    24
         and injury to their images and reputations as a result thereof.
    25
    26
                38. As a result of Defendants’ activities, Plaintiffs and the Musical
    27
         Performers have been damaged in an amount not yet determined or ascertainable.
    28
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                                                   14
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     1                 AS AND FOR A FIFTH CAUSE OF ACTION
     2          Trademark Dilution Under 15 U.S.C. 1125(c) as to all Defendants

     3
                39. Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
     4
         20, 22 through 28, 30 through 34 and 36 through 38 of this Complaint as if fully
     5
         set forth herein.
     6
     7
     8
               40.    By virtue of the Musical Performers’ long and continuous use of the

     9   Musical Performers’ Marks in interstate commerce, said marks have become and

    10   continue to be famous within the meaning of 15 U.S.C. 1125(c). As such, said
    11   marks are eligible for protection against dilution pursuant to 15 U.S.C. 1125(c).
    12
    13         41.    Defendants’ use of the Musical Performers’ Marks in connection with
    14   the merchandise that they are selling has threatened to cause and is causing dilution
    15   of the distinctive quality of the famous Musical Performers’ Marks by lessening
    16   Plaintiffs’ and the Musical Performers’ capacity to identify the goods in violation
    17   of 15 U.S.C. 1125(c).
    18
    19         42.    Plaintiffs and the Musical Performers will have no adequate remedy at
    20   law if Defendants’ activities are not enjoined and will suffer irreparable harm and
    21
         injury to their images and reputations as a result thereof.
    22
    23
               43.    As a result of Defendants’ activities, Plaintiffs and the Musical
    24
         Performers have been damaged in an amount not yet determined or ascertainable.
    25
    26
    27
    28
         
         
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     1                    AS AND FOR A SIXTH CAUSE OF ACTION
     2               Violation of Section 3344.1 of the California Civil Code

     3
               44.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
     4
         20, 22 through 28, 30 through 34, 36 through 38 and 40 through 43 of this
     5
         Complaint as if fully set forth herein.
     6
     7
     8
               45.    Tupac Shakur was a celebrated musical performer with a proprietary

     9   interest, inter alia, in the use in public of his name and likeness. Tupac Shakur

    10   died on September 2, 1996. On September 27, 2004, Amaru Entertainment, Inc.
    11   (“Amaru”) registered a claim pursuant to California Civil Code Section 3344.1.
    12   Bravado has been granted the exclusive right to use the Tupac Shakur likeness in
    13   connection with merchandise including shirts.
    14
    15         46.    Defendants Milbes, Savvy, Houzz, Irving, Colon, Vintage Wear,
    16   Stacy Sales, Metropolis, Mohamed, Metro Fusion, Heisman, Flores, Milk,
    17   Gartrale, Feelgood Threads, Sheikh and Clerk have used the Tupac Shakur name
    18   and likeness in connection with the advertising, sale and/or distribution of the
    19   Infringing Merchandise.
    20
    21         47.    Neither Bravado nor any party acting on behalf of Amaru has given
    22
         oral or written consent to any of the Defendants for the use of Tupac Shakur’s
    23
         name and/or likeness and/or in connection with any advertising and/or in the
    24
         manner that the aforesaid Defendants have been using said name and/or likeness.
    25
    26
               48.    The aforesaid Defendants have violated California Civil Code
    27
         Section 3344.1 by knowingly appropriating, using and exploiting the Tupac
    28
         
         
                                                   16
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     1   Shakur name and likeness in connection with commercial exploitation and/or
     2   advertisement of the merchandise that they have distributed for their commercial
     3   benefit without the consent of Bravado or any party authorized to give such
     4   consent.
     5
     6         49.    As a result thereof, the aforesaid Defendants have deprived Bravado
     7
         and Amaru of the right to control the time, place, terms and manner by which to
     8
         publicize Tupac Shakur’s special talents.
     9
    10
               50.    The aforesaid Defendants’ use of the Tupac Shakur name and
    11
         likeness in connection with the sale and distribution of the Infringing
    12
         Merchandise has caused, is causing and will continue to cause Bravado and/or
    13
         Amaru irreparable harm and injury. If the aforesaid Defendants’ activities are not
    14
         enjoined, Bravado and/or Amaru will suffer irreparable harm and injury.
    15
    16
               51.    As a result of the aforesaid Defendants’ activities, Bravado and
    17
         Amaru have been damaged in an amount not yet determined or ascertainable.
    18
    19
    20
                        AS AND FOR A SEVENTH CAUSE OF ACTION
                      Violation of Washington Code Section 63.60.010 et seq.
    21
    22         52.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    23   20, 22 through 28, 30 through 34, 36 through 38, 40 through 43 and 45 through
    24
         51 of this Complaint as if fully set forth herein.
    25
    26
    27
    28
         
         
                                                    17
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     1         53.    The Musical Performers are celebrated musical performers and
     2   groups with a proprietary interest, inter alia, in the use in public of their
     3   respective names and/or the likenesses of the individual members thereof.
     4
     5
               54.    Defendants Savvy, Milbes, Colon, Irving, Feelgood Threads,
     6
         Gartrale, Clerk, Houzz, RNW, Walton, Heisman, Milk and Flores have sold,
     7
         manufactured, advertised and distributed and/or caused or authorized the sale and
     8
         distribution of the Infringing Merchandise bearing the names and/or likenesses of
     9
         at least some of the Musical Performers into the State of Washington and/or have
    10
         used said names and likenesses in advertising the sale of said goods.
    11
    12
               55.    Neither Plaintiffs nor the Musical Performers or any party acting on
    13
         their behalf has given oral or written consent to any of the Defendants for the use
    14
         of said names and/or likenesses on any items and/or in connection with any
    15
    16
         advertising and/or in the manner that the aforesaid Defendants have been using

    17   said names and/or likenesses.

    18
    19         56.    The aforesaid Defendants have violated the Washington Right of
    20   Publicity Statute, Washington Code Section 63.60.010 et seq., by appropriating,
    21   using and exploiting the names and/or likenesses of the Musical Performers on
    22   the Infringing Merchandise that they have manufactured, distributed and/or
    23   transported and/or caused or authorized the Infringing Merchandise to be
    24   distributed and/or transported into Washington and/or by advertising said
    25   products for their commercial benefit without the consent of Plaintiffs or the
    26   Musical Performers.
    27
    28
         
         
                                                  18
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     1         57.    As a result thereof, the aforesaid Defendants have deprived Plaintiffs
     2   and the Musical Performers of the right to control the time, place, terms and
     3   manner by which to publicize said parties’ special talents.
     4
     5         58.    Plaintiffs and the Musical Performers will have no adequate remedy
     6   at law if the aforesaid Defendants’ activities are not enjoined and will suffer
     7
         irreparable harm and injury to their images and reputations as a result thereof.
     8
     9
               59.    As a result of the aforesaid Defendants’ activities, Plaintiffs and the
    10
         Musical Performers have been damaged in an amount not yet determined or
    11
         ascertainable.
    12
    13
                       AS AND FOR AN EIGHTH CAUSE OF ACTION
    14               Violation of Section 3344.1 of the California Civil Code
    15
    16         60.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    17   20, 22 through 28, 30 through 34, 36 through 38, 40 through 43, 45 through 51
    18   and 53 through 59 of this Complaint as if fully set forth herein.
    19
    20         61.    Bob Marley was a celebrated musical performer with a proprietary
    21   interest, inter alia, in the use in public of his name and likeness. Bob Marley
    22
         died on May 11, 1981. On April 19, 1990, Bob Marley Music, Inc. (“Bob
    23
         Marley Music”) registered a claim pursuant to California Civil Code Section
    24
         3344.1. Zion has been granted the exclusive right to use the Bob Marley name
    25
         and likeness in connection with merchandise including apparel.
    26
    27
    28
         
         
                                                   19
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     1         62.    Defendants Milbes, Savvy, Houzz, Irving, Colon, Metropolis,
     2   Mohamed, Metro Fusion, Heisman, Flores, Milk, Gartrale and Clerk have used
     3   the Bob Marley name and likeness in connection with the advertising, sale,
     4   manufacture and/or distribution of the Infringing Merchandise.
     5
     6         63.    Neither Zion nor any party acting on its behalf has given oral or
     7
         written consent to any of the Defendants for the use of Bob Marley’s name and/or
     8
         likeness and/or in connection with any advertising and/or in the manner that the
     9
         aforesaid Defendants have been using said name or likeness.
    10
    11
               64.    The aforesaid Defendants have violated California Civil Code
    12
         Section 3344.1 by knowingly appropriating, using and exploiting the Bob Marley
    13
         name and likeness in connection with commercial exploitation and/or
    14
         advertisement of the merchandise that they have distributed for their commercial
    15
    16
         benefit without the consent of Zion or any party authorized to give such consent.

    17
    18         65.    As a result thereof, the aforesaid Defendants have deprived Zion of

    19   the right to control the time, place, terms and manner by which to publicize Bob
    20   Marley’s special talents.
    21
    22         66.    The use of the Bob Marley name and likeness in connection with the
    23   sale and distribution of the Infringing Merchandise by Defendants has caused, is
    24   causing and will continue to cause Zion irreparable harm and injury. If
    25   the aforesaid Defendants’ activities are not enjoined, Zion will suffer irreparable
    26   harm and injury.
    27
    28
         
         
                                                  20
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     1            67.    As a result of the aforesaid Defendants’ activities, Zion has been
     2       damaged in an amount not yet determined or ascertainable.
     3
     4                       AS AND FOR A NINTH CAUSE OF ACTION
                        Violation of Texas Property Code Section 26.003 et seq.
     5
     6
                  68.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
     7
         20, 22 through 28, 30 through 34, 36 through 38, 40 through 43, 45 through 51,
     8
         53 through 59 and 61 through 67 of this Complaint as if fully set forth herein.
     9
    10
                  69.    The Musical Performers are celebrated musical performers and
    11
         groups with a proprietary interest, inter alia, in the use in public of their
    12
         respective names and/or the likenesses of the individual members thereof.
    13
    14
    15
                  70.    Defendants   Savvy,    Colon,    Irving   and   Milbes   have   sold,

    16   manufactured, advertised and distributed and/or caused the sale and distribution

    17   of the Infringing Merchandise bearing the names and/or likenesses of at least
    18   some of the Musical Performers into the State of Texas and/or have used said
    19   names and likenesses in advertising the sale of said goods.
    20
    21            71.    Neither Plaintiffs nor the Musical Performers or any party acting on
    22   their behalf has given oral or written consent to any of the Defendants for the use
    23   of said names and/or likenesses on any items and/or in connection with any
    24   advertising and/or in the manner that the aforesaid Defendants have been using
    25   said names and/or likenesses.
    26
    27            72.    The aforesaid Defendants have violated the Texas right of publicity
    28   statute, Texas Property Code Section 26.60.003 et seq., by appropriating, using
         
         
                                                    21
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     1   and exploiting the names and/or likenesses of the Musical Performers on the
     2   Infringing Merchandise that they have manufactured, distributed and/or
     3   transported and/or caused the Infringing Merchandise to be distributed and/or
     4   transported into Texas and/or by advertising said products for their commercial
     5
         benefit without the consent of Plaintiffs or the Musical Performers.
     6
     7
               73.    As a result thereof, the aforesaid Defendants have deprived Plaintiffs
     8
         and the Musical Performers of the right to control the time, place, terms and
     9
         manner by which to publicize said parties’ special talents.
    10
    11
               74.    Plaintiffs and the Musical Performers will have no adequate remedy
    12
         at law if the aforesaid Defendants’ activities are not enjoined and will suffer
    13
         irreparable harm and injury to their images and reputations as a result thereof.
    14
    15
               75.    As a result of the aforesaid Defendants’ activities, Plaintiffs and the
    16
         Musical Performers have been damaged in an amount not yet determined or
    17
         ascertainable.
    18
    19
    20                   AS AND FOR A TENTH CAUSE OF ACTION
                     Violation of Section 3344.1 of the California Civil Code
    21
    22         76.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through 20,
    23
         22 through 28, 30 through 34, 36 through 38, 40 through 43, 45 through 51, 53
    24
         through 59, 61 through 67 and 69 through 75 of this Complaint as if fully set forth
    25
         herein.
    26
    27
    28
         
         
                                                   22
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     1            77.    Rick James was a celebrated musical performer with a proprietary
     2       interest, inter alia, in the use in public of his name and likeness. Rick James
     3       died on August 6, 2004. On February 8, 2005, The James Ambrose Johnson Jr.
     4       1999 Trust (“James Trust”) registered a right of publicity claim pursuant to
     5
             California Civil Code Section 3344.1 regarding Rick James. Bravado has been
     6
             granted the exclusive right to use the Rick James name and likeness in
     7
             connection with merchandise including apparel.
     8
     9
                  78.   Defendants Houzz, Irving, Gartrale, Clerk, Feelgood and Sheikh
    10
         have used the Rick James name and likeness in connection with the advertising,
    11
         sale and/or distribution of the Infringing Merchandise.
    12
    13
                  79.   Neither Bravado nor any party acting on behalf of the James Trust
    14
         has given oral or written consent to any of the Defendants for the use of Rick
    15
         James’ name and/or likeness and/or in connection with any advertising and/or in
    16
    17
         the manner that the aforesaid Defendants have been using said name and/or

    18   likeness.

    19
    20            80.   The aforesaid Defendants have violated California Civil Code
    21   Section 3344.1 by knowingly appropriating, using and exploiting the Rick James
    22   name and likeness in connection with commercial exploitation and/or
    23   advertisement of the merchandise that they have distributed for their commercial
    24   benefit without the consent of Bravado or any party authorized to give such
    25   consent.
    26
    27
    28
         
         
                                                    23
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     1         81.    As a result thereof, the aforesaid Defendants have deprived Bravado
     2   and the James Trust of the right to control the time, place, terms and manner by
     3   which to publicize Rick James’ special talents.
     4
     5         82.    The aforesaid Defendants’ use of the Rick James name and likeness
     6   in connection with the sale and distribution of the Infringing Merchandise has
     7
         caused, is causing and will continue to cause Bravado and/or the James Trust
     8
         irreparable harm and injury.
     9
    10
               83.    As a result of the aforesaid Defendants’ activities, Bravado and the
    11
         James Trust have been damaged in an amount not yet determined or
    12
         ascertainable.
    13
    14
               WHEREFORE, Plaintiffs respectfully pray that this Court grant the
    15
    16
         following relief:

    17
    18         A.    A Preliminary Injunction restraining, enjoining and prohibiting each
    19   of the Defendants from manufacturing, distributing, advertising or selling any
    20   and all merchandise bearing the names, trademarks and/or the likenesses of any
    21   of the Musical Performers or any one or more of them and/or anything
    22   confusingly similar thereto and/or any mark or designation that would cause
    23   consumers to believe that Defendants’ merchandise was sponsored and/or
    24   authorized by Plaintiffs and/or any of the Musical Performers;
    25
    26         B.     A Permanent Injunction restraining, enjoining and prohibiting each
    27   of the Defendants from manufacturing, distributing, advertising or selling any
    28
         and all merchandise bearing the names, trademarks and/or the likenesses of any
         
         
                                                  24
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     1   of the Musical Performers or any one or more of them and/or anything
     2   confusingly similar thereto and/or any mark or designation that would cause
     3   consumers to believe Defendants’ merchandise was sponsored and/or authorized
     4   by Plaintiffs and/or any of the Musical Performers;
     5
     6         C.     Three times Defendants’ profits or three times the damages suffered
     7
         by Plaintiffs or the Musical Performers, whichever is greater, and reasonable
     8
         attorneys’ fees and costs pursuant to the First and Fifth Causes of Action;
     9
    10
               D.     Defendants’ profits and/or the damages suffered by Plaintiffs or the
    11
         Musical Performers and/or statutory damages of no less than $750.00 for each
    12
         name and/or likeness that Defendants have used on each different product and/or
    13
         in advertising plus punitive damages and attorneys’ fees pursuant to California
    14
         Civil Code Sections 3344 and 3344.1 (the Second, Sixth and Eighth Causes of
    15
    16
         Action);

    17
    18         E.      Defendants’ profits or damages suffered by Plaintiffs or the Musical
    19   Performers, whichever is greater, plus punitive damages pursuant to the Third
    20   and Fourth Causes of Action;
    21
    22        F.      Statutory damages of $2,000,000.00 pursuant to 17 U.S.C. 1117(c)
    23   for each of the trademarks that Defendants have used in connection with the sale
    24   of their counterfeit products;
    25
    26        G.      Defendants’ profits and/or the damages suffered by Plaintiffs or the
    27   Musical Performers and/or statutory damages of no less than $1,500.00 for each
    28   name and/or likeness that Defendants have used on each different product and/or
         
         
                                                   25
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     1   in advertising in Washington plus punitive damages and attorneys’ fees pursuant
     2   to Washington Code Section 63.60.060 (the Seventh Cause of Action);
     3
     4        H.     Defendants’ profits and/or the damages suffered by Plaintiffs or the
     5
         Musical Performers and/or statutory damages of no less than $2,500.00 for the
     6
         use of the Tupac Shakur, Rick James and Bob Marley names and/or likenesses
     7
         that Defendants have used on each different product sold and/or in advertised in
     8
         Texas plus punitive damages and attorneys’ fees pursuant to Texas Property
     9
         Code Section 26.013 (the Ninth Cause of Action);
    10
    11
              I.     An award of interest, including pre-judgment interest, on the
    12
         foregoing sums; and
    13
    14
    15
               J.    Such other and further relief that this Court deems to be just and

    16   proper.

    17
    18   Dated: October 2, 2017               Respectfully submitted,
    19          Culver City, CA
    20
                                              By: s/Kenneth A. Feinswog
    21                                           KENNETH A. FEINSWOG
    22
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                                                 400 Corporate Pointe, Suite 300
    23                                           Culver City, CA 90230
    24                                           Telephone: (310) 846-5800
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    25
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